Case 2:20-cv-00104-BMC-AYS Document 100 Filed 09/29/22 Page 1 of 1 PageID #: 4372




  UNITED STATES DISTRICT COURT                                        CIVIL CONFERENCE
  EASTERN DISTRICT OF NEW YORK                                        MINUTE ENTRY

  BEFORE: ANNE Y. SHIELDS                                             DATE: 9/29/2022
          U.S. MAGISTRATE JUDGE                                       TIME: 2:30 pm
                                                                      FTR: 2:53-2:53, 5:50-5:54

  CASE: CV 20-104 (BMC) (AYS) Miranda v. South Country Central School District, et al

  TYPE OF CONFERENCE: SETTLEMENT

  APPEARANCES:         Plaintiff       John W. Ray

                       Defendant       Steven Stern
                                       Chelsea Weisbord

  THE FOLLOWING RULINGS WERE MADE:
  9     Scheduling Order entered.
  9     Settlement conference scheduled for __ in courtroom 830 of the Long Island Courthouse.
        Counsel shall comply with the undersigned’s individual rules on settlement.
  9     Proposed settlement pending: By __, each party shall notify the court by ex parte letter to
        chambers at (631) 712-5715 whether it accepts or rejects the proposed settlement. These
        letters will be kept confidential.
  9     The Joint Pretrial Order is accepted for filing and the action is deemed ready for trial.
  :     Other: Case settled. The parties have agreed to settle this matter. They are directed to file
        a stipulation of discontinuance with the assigned District Judge by October 31, 2022.




                                                       SO ORDERED

                                                       /s/ Anne Y. Shields
                                                       ANNE Y. SHIELDS
                                                       United States Magistrate Judge
